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FOURTH CIRCUIT TRANSCRIPT ORDER FORM
Case Style Unitep States. Urvora Ati

Dist. Ct. No. RWT -O4 -235 District Covet OF MARYLAND
Date Notice of Appeal filed 12. -22-O4 Court of Appeals No,_O71 SAOLR,

Name of Court Reporter/Electronic Rec. (use separate form for cach reporter)

Address of Reporter 650 Cu epey wee P LAG Boom rot Grew pert Mp 20170

Appellant must order any necessary transcript, completing a separate transcript order form (and separate CJA, 2A Form) for each
reporter and submitting the order to the court reporter and the district court within 14 days of noting the appeal. The completed form
must show that necessary financial arrangements have been made or thal a CYA. 24 Form has been submitted to the district court for
approval. Copies of the transcript order form must be attached to the docketing statement filed in the Court of Appeals and served on
opposing counsel within 14 days of docketing of the appeal, or the appeal will be subject to dismissal pursuant to Local Rule 45, Tf
appellee finds other parts of the proceedings necessary, appellee must designate the additional parts within 14 days after service of the
transcript order. Lf appellant has not ordered the additional parts within 14 days, appellee may, within the following 14 days, order the
additional parts or move in the district court for an order requiring appellant to do so. In sentencing appeals, a transcript of the
sentencing hearing must be ordered. In Anders appeals, plea (or trial), suppression, and sentencing transcript must be ordered. If
appellee wishes to obtain a copy of transcript ordered by appellant, appellee must order a copy from the court reporter. In multi-
defendant cases involving CJA defendants, only one original trial transcript should be purchased from the court reporter on behalf of
CJA defendants, and copies should thereafter be made at commercially competitive rates. Counsel must review transcript and notify
the district court of any intention to direct redaction of personal data identifiers within 7 days of filing of the transcript, and thereafter
submit a statement of redactions to the court reporter within 21 days of filing of the transcript, as required by the Judicial Conference
Policy on Privacy ai ic Access 10 Electronic Case Files. Counsel should verify that the witness name and type of examination
appear in the top margin of cach page of testimony, as required for inclusion in the appendix on appeal. Local Rule 30(b).

A. his constitutes an order of the transcript of the following proceedings. Check appropriate box(es), provide date of hearing, and
indicate total number of estimated pages. Failure to specify in adequate detail the proceedings to be transcribed is grounds for
dismissal. Specific authorization is required under the CJA for opeming and closing statements, voir dire, or jury instructions.

PROCEEDING HEARING DATE()

Voir Dire
Opening Statement (Plaintiff)
Opening Statement (Defendant)
Closing Argument (Plaintiff)
Closing Argument (Defendant)
Opinion of Court
WK Jury Instructions AUGusT 9, Zoot, « AugusT ll 200s¢
O Sentencing ff o
1 Bail Hearing
( Pre-Trial Proceedings (specify)

ooo00noo0

C Testimony (specify)

OO Other (specify)

TOTAL ESTIMATED PAGES

B. I certify that I have contacted the court reporter (or coordinator if electronic recording from the District of Maryland) and
satisfactory financial arrangements for payment of the transcript have been made.
O Private funds. (Deposit of § enclosed with court reporter's copy. Check No. )
WY Criminal Justice Act. A CJA 24 Form has heen submitted to the district court and a copy is attached.
C] Government expense (civil case--[FP). Motion for transcript at government expense is pending with district judge.
OO Advance payment waived by court reporter. Payment in full is due upon receipt of transcript.
O Federal Public Defender - no CIA 24 Form necessary.
C) United States appeal - copy of litigation expense form attached, if applicable.

Signature Typed name ALAN DEXTER. Bo wan

Address Gktewis I, Suite (05 Newark NT _ 077/02
Email Telephone No. 973 ~@22 -2225°
Date Sent to Reporter 6-F7-/(o

